 1   Thomas W. Stilley, OSB No. 883167
     Joshua G. Flood, OSB No. 223085
 2   SUSSMAN SHANK LLP
     1000 S.W. Broadway, Suite 1400
 3   Portland, OR 97205-3089
     Telephone: (503) 227-1111
 4   Facsimile: (503) 248-0130
     E-Mail: tstilley@sussmanshank.com
 5           jflood@sussmanshank.com

 6           Proposed Attorneys for Debtor

 7

 8                        IN THE UNITED STATES BANKRUPTCY COURT

 9                                  FOR THE DISTRICT OF OREGON

10   In re                                                      ) Case No. 23-30159-thp11
                                                                )
11   Roy MacMillan, individually,                               )
                                                                ) APPLICATION TO EMPLOY COUNSEL
12                             Debtor.                          ) FOR DEBTOR (Sussman Shank LLP)
                                                                )
13                                                              )
                                                                )
14                                                              )
                                                                )
15                                                              )

16           Pursuant to 11 USC § 327, BR 2014, and LBR 2014-1, Roy MacMillan (“Debtor”),

17   applies for authorization to employ Sussman Shank LLP (“Sussman Shank”) to represent him as

18   his general bankruptcy counsel. In support of this application, Sussman Shank respectfully

19   represents:

20           1.     On January 25, 2023, the Debtor filed his voluntary petition under Chapter 11 of

21   Title 11 of the United States Code (the “Bankruptcy Code”).

22           2.     The Debtor is one of the owners and the managing member of R.O.D.A, LLC

23   (“RODA”).     RODA owns the real property and improvements commonly known as the

24   Sherwood Ice Arena located in Sherwood, Oregon (the “Rink”). The Debtor also owns an equity

25   interest in and is the president of Stumptown Ice, Inc. (“Stumptown Ice”). Stumptown Ice leases

26   the Rink from RODA and operates the Rink for hockey, figure skating, training, and public ice


      Page 1 of 4 - APPLICATION TO EMPLOY COUNSEL FOR DEBTOR (Sussman Shank
      LLP)

                                          SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
                                      TELEPHONE (503) 227-1111 | FACSIMILE (503) 248-0130
                           Case 23-30159-thp11               Doc 9        Filed 01/26/23
 1   skating. In January 2020, RODA purchased the Rink with a loan from PacWest Funding, Inc.

 2   dba Precision Capital (“Precision”) in the original principal amount of $5,682,000 (the “Rink

 3   Loan”). The Debtor guaranteed the Rink Loan. In order to obtain additional funds to purchase

 4   the Rink and provide operating capital, the Debtor obtained a personal loan from Precision in the

 5   original principal amount of $1,365,000 that is secured by his farm located in Yamhill and

 6   Washington Counties, Oregon, (the “Farm Loan”). The Debtor loaned that money to RODA,

 7   and RODA agreed to make all payments to Precision on the Farm Loan.

 8          3.      In 2020, the Rink was forced by the state of Oregon to shut down for a number of

 9   months because of the COVID-19 pandemic. As a result, the Rink did not generate sufficient

10   income to make rent payments to RODA and RODA was unable to make the required payments

11   to Precision on the Rink and Farm Loans. On January 1, 2022, the Farm Loan matured, and on

12   February 1, 2022 the Rink Loan matured.

13          4.      On June 3, 2022, Precision filed a Trustee’s Notice of Default and Election to Sell

14   the Rink property, with the Rink sale originally scheduled for October 13, 2022. On August 4,

15   2022, Precision filed an Amended and Correction of Trustee’s Notice of Default and Election to

16   Sell the Farm property, with the Farm sale scheduled for December 6, 2022. Precision

17   subsequently extended the dates of both sales, with the Farm sale extended to January 26, 2022

18   and the Rink sale extended to February 7, 2022. On January 25, 2023, in order to avoid the sale

19   of the Farm and to obtain time to propose a plan of reorganization, the Debtor was forced to file

20   Chapter 11 to prevent the trustee’s sale of the Farm from taking place.

21          5.      The Debtor selected Sussman Shank because of Sussman Shank’s extensive

22   experience in representing Chapter 11 debtors. The Debtor believes Sussman Shank to be well-

23   qualified to represent him.

24          6.      The professional services Sussman Shank is expected to render include, without

25   limitation, providing the Debtor with advice on his duties and responsibilities as a debtor-in-

26   possession, preparing and filing schedules, defending motions for relief from stay, analysis and


      Page 2 of 4 - APPLICATION TO EMPLOY COUNSEL FOR DEBTOR (Sussman Shank
      LLP)

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 1   objections to claims, formulation and approval of a plan and disclosure statement, negotiations

 2   with creditors and other parties in interest, and all other matters requiring legal representation of

 3   the Debtor in his case.

 4            7.        To the best of Sussman Shank’s knowledge, Sussman Shank is not a creditor of

 5   the Debtor and has no interest adverse to the Debtor or its estates on any of the matters upon

 6   which it is to be engaged, is a disinterested person as defined in 11 USC § 101(14), and its

 7   employment would be in the best interest of the estate. Sussman Shank holds a retainer as

 8   described below, but does not claim a security interest in any other property of the estate to

 9   secure its fees.

10            8.        To the best of Sussman Shank’s knowledge, Sussman Shank has no connection

11   with the Debtor, creditors, or any party in interest or his respective attorneys or accountants,

12   except as may be set forth on the Rule 2014 Verified Statement filed herewith.

13            9.        The Debtor has provided Sussman Shank with a retainer of $54,000 to be applied

14   to postpetition fees and expenses.

15            10.       The Debtor has provided notice of this application to PacWest Funding, Inc.

16   dba Precision Capital and its counsel, the 20 largest unsecured creditors, and the Office of

17   the United States Trustee. The Debtor submits that the foregoing constitutes good and

18   sufficient notice and that no other or further notice need be given in the circumstances.

19   //

20   //

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          Page 3 of 4 - APPLICATION TO EMPLOY COUNSEL FOR DEBTOR (Sussman Shank
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 1            WHEREFORE, the Debtor prays that he be authorized to employ Sussman Shank as his

 2   general bankruptcy counsel, and that he be authorized to pay a reasonable fee for Sussman

 3   Shank’s services and costs upon application and order of the court.

 4            DATED this 26th day of January, 2023.
 5

 6                                                        /s/ Roy MacMillan
                                                    By:____________________________________
 7                                                    Roy MacMillan
 8

 9   PRESENTED BY:
10   SUSSMAN SHANK LLP
11          /s/ Thomas W. Stilley
     By _________________________________________
12     Thomas W. Stilley, OSB No. 883167
       Josh G. Flood, OSB No. 223085
13       Proposed Attorneys for Debtor
14
     *26350-003\APPLICATION TO EMPLOY (SUSSMAN SHANK LLP) (04142163);1
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       Page 4 of 4 - APPLICATION TO EMPLOY COUNSEL FOR DEBTOR (Sussman Shank
       LLP)

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                                 Case 23-30159-thp11                Doc 9        Filed 01/26/23
                       UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF OREGON

 In re
 Roy MacMillan,                           Case No. 23-30159-thp11
                                            Amended

                                          VERIFIED STATEMENT IN SUPPORT OF
 Debtor                                   EMPLOYMENT APPLICATION

Instructions to filer: This statement must be completed by each person proposed to be
employed under 11 U.S.C. § 327, 1103, or 1114. If the application also seeks approval
of employment of my firm, this form must be completed and signed on behalf of the firm
by the member, associate, or employee of the firm who is expected to be primarily
responsible for the engagement. If the firm is a law firm proposed to provide services in
the case or an associated adversary proceeding, this form must be completed on behalf
of the firm by the attorney of record. Any amended statement must include “Amended” in
the title, be complete, and clearly identify changes from the previous filed version.
Italicized text below constitutes further instructions.

     Thomas W. Stilley
I, ___________________________________________,           make this statement in support
of the application for approval of my employment by [enter name of proposed employer,
for example, name of debtor in possession, trustee, or creditors committee]
  Roy MacMillan
_____________________________________________              (employer). If the application
also seeks approval of employment of my firm, I make this statement on behalf of myself,
my firm, and each other member, associate, or employee of my firm whom I expect to
perform services for the employer in or in connection with this case, and each statement
below is on behalf of each of those persons. Otherwise, paragraphs 2.3 and 2.5 below
do not apply to this statement.

1. Disinterestedness

   1.1. I am not a creditor of the debtor except:      N/A




   1.2. I am not an equity security holder of the debtor.

   1.3. I am not and was not, within two years before the date of the filing of the petition,
        a director, officer, or employee of the debtor.

   1.4. I do not have an interest materially adverse to the interest of the estate or of any
        class of creditors or equity security holders by reason of any direct or indirect
        relationship to, connection with, or interest in the debtor or for any other reason.


1114 (12/1/2022)                        Page 1 of 4

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2. Insider status

   2.1. I am not a relative of the individual debtor [“Relative” means an individual related
        by affinity or consanguinity within the third degree as determined by the common
        law or individual in a step or adoptive relationship within that third degree.]
   2.2. I am not a relative of an individual general partner of the debtor.

   2.3. My firm is not a partnership in which the debtor is a general partner.

   2.4. I am not a general partner of or in the debtor.

   2.5. My firm is not a corporation of which the debtor is a director, officer, or person in
        control. [“Corporation” has the meaning in 11 U.S.C. § 101(9) and includes
        limited liability company but not limited partnership.]

   2.6. I am not an officer or director of the debtor.

   2.7. I am not a person in control of the debtor.

   2.8. I am not a relative of a general partner, director, officer, or person in control of
        the debtor.

   2.9. If the debtor is a municipality, I am not an elected official of the debtor or a relative
        of an elected official of the debtor.

   2.10. I am not a managing agent of the debtor.

3. Affiliates of the debtor [If the debtor has no affiliates, the affiliates list should say
   “None.” In the balance of this statement, “affiliate” means an affiliate on the affiliates
   list below.]

   3.1. If I am an attorney proposed for employment as general bankruptcy counsel for
        the trustee or chapter 11 debtor in possession, the trustee or debtor in
        possession has with my advice prepared the list below of the debtor’s affiliates,
        as that term is defined in 11 U.S.C. § 101(2), including each affiliate’s name and
        relationship to the debtor.

   3.2. If I am not an attorney described in paragraph 3.1 above, I have obtained from
        the trustee, chapter 11 debtor in possession, or the general bankruptcy counsel
        for the trustee or debtor in possession the list below of the debtor’s affiliates,
        prepared in accordance with paragraph 3.1 above.

   3.3. I am not an affiliate or an insider of an affiliate as if such affiliate were the debtor.
        [“Insider” includes persons and other entities having a relation to the
        debtor listed in part 2 above.]




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4. Employment by chapter 11 committee

   If I am proposed to be employed by a chapter 11 committee of creditors, equity-
   security holders, or retirees, I do not represent any other entity having an adverse
   interest in connection with the case.

5. Connections

   I have no business, professional, personal, financial, or other connections with the
   debtor, affiliates, creditors, any party in interest, their respective attorneys and
   accountants, the United States trustee, or any person employed in the office of the
   United States trustee except: None




6. Compensation

   6.1. If I am an attorney representing the debtor in or in connection with this case, the
        following are the details of all compensation paid or agreed to be paid to me
        within one year before the petition date for services rendered or to be rendered
        in contemplation of or in connection with this case, including payments made to
        me by either the debtor or a third party for any services rendered to the debtor
        within one year before filing of the petition:
         2/3/2022      $ 587.95             1/13/2023       $11,887.00
         3/16/2022     $2,894.55            1/24/2023       $10,000.00
         3/30/2022     $3,439.45            12/8/2022-      $54,000.00    Chapter 11 Retainer
         5/6/2022      $2,530.00            1/5/2023
         5/31/2022     $1,495.00
         6/27/2022     $2,185.00
         7/21/2022     $4,945.00
         8/16/2022     $1,711.50
         10/5/2022     $7,470.00


   6.2. If I am proposed to be employed by the trustee or, in a chapter 11 case, by the
        debtor in possession or a committee of creditors, equity-security holders, or
        retirees, I do not represent or hold an interest adverse to the interest of the
        estate with respect to the matter on which I am proposed to be employed.

If, during this case, any of the above statements ceases to be correct because of events
occurring or information that I gain after the petition date, I agree to immediately file an
amended statement on this form, include “amended” in the title, and clearly identify any
changes.



1114 (12/1/2022)                        Page 3 of 4

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I verify under penalty of perjury that the foregoing is true and
                      1/25/2023
correct. Executed on ___________.


                         __________________________________________________
                         /s/ Thomas W. Stilley
                         Signature of individual proposed to be employed

                         __________________________________________________
                         Thomas W. Stilley
                         Printed name of signer

                         __________________________________________________
                         Sussman Shank LLP
                         Address (including firm name, if applicable)

                         __________________________________________________
                         1000 SW Broadway, Suite 1400


                         __________________________________________________
                         Portland, OR 97205




                        LIST OF AFFILIATES OF THE DEBTOR
                         See instructions in paragraph 3 above.

        Name of Affiliate                  Relationship of Affiliate to the Debtor
R.O.D.A. LLC                        Debtor owns a 48.5% membership interest and is the
                                    managing member

Stumptown Ice, Inc.                 Debtor owns 60% of the equity interest and is the
                                    president and a director

Oregon Ice Entertainment, Inc.      Debtor owns 60% of the equity interest and is the
                                    president, secretary, and a director

Tartan House LLC                    Debtor owns 100% membership interest and is the
                                    managing member

Chehalem Mist Farms LLC             Debtor owns 100% membership interest and is the
                                    managing member

Northwest Comlink LLC               Debtor owns 100% membership interest and is the
                                    managing member

MacMillan & Associates LLC          Debtor owns 100% membership interest and is the
                                    managing member




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 1                                     CERTIFICATE OF SERVICE

 2          I, Janine E. Hume declare as follows:

 3          I am employed in the County of Multnomah, state of Oregon; I am over the age of eighteen

 4   years and am not a party to this action; my business address is 1000 SW Broadway, Suite 1400,

 5   Portland, Oregon 97205-3089, in said county and state.

 6          I certify that on January 26, 2023, I served, via first class mail, a full and correct copy of

 7   the foregoing (1) APPLICATION TO EMPLOY COUNSEL FOR DEBTOR (Sussman Shank

 8   LLP), and (2) 2014 VERIFIED STATEMENT to the parties of record, addressed as follows:

 9   Brian Moyniham, CEO
     Bank of America
10   100 North Tryon Street
     Charlotte, NC 28255
11
     Tom Chalstron, President and CEO
12   First Federal Credit Union
     PO Box 6354
13   Fargo, ND 58125
14   Jamie Dimon, Chairman and CEO
     JPMorgan Chase Bank
15   PO Box 15290
     Wilmington, DE 19850
16
     Julia Manela
17   Watkins Laird Rubenstein PC
     PO Box 10567
18   Eugene, OR 97440
19   Precision Capital
     4710 Village Plaza Lane #100
20   Eugene, OR 97401
21
            I also certify that on January 26, 2023, I served the above-referenced document(s) on all
22
     ECF participants as indicated on the Court's Cm/ECF system.
23
     //
24

25   //

26   //

CERTIFICATE OF SERVICE - Page 1


                                            SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                  1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
                                        TELEPHONE (503) 227-1111 | FACSIMILE (503) 248-0130
                           Case 23-30159-thp11                 Doc 9         Filed 01/26/23
 1          I swear under penalty of perjury that the foregoing is true and correct to the best of my

 2   knowledge, information, and belief.

 3          Dated: January 26, 2023.

 4

 5                                           /s/ Janine E. Hume
                                             ___________________________________________
 6                                           Janine E. Hume, Legal Assistant
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CERTIFICATE OF SERVICE - Page 2


                                           SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                 1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
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